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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Garland E. Burrell, Jr.
United States District Judge
Sacramento, California

                                    RE:      Minesh PRASAD
                                             Docket Number: 2:03CR00202-04
                                             RELEASE OF CONFIDENTIAL INFORMATION

Your Honor:

The United States Department of Homeland Security, Office of Immigration and Customs
Enforcement has requested a copy of Mr. Prasad's presentence report relating to his
federal conviction for evidence in his removal proceedings. Because this information is
confidential, the Court would have to approve disclosing the information requested. Please
advise the undersigned officer how to proceed in this matter.

                                  Respectfully submitted,

                                     /s/ Kris M. Miura

                                    KRIS M. MIURA
                             United States Probation Officer

Dated:         February 1, 2007
               Sacramento, California
               KMM:jz


REVIEWED BY:          /s/ Kyriacos M. Simonidis
                      KYRIACOS M. SIMONIDIS
                      Supervising United States Probation Officer


cc:      Benjamin Wagner
         S. Robert Tice-Raskin
         Assistant United States Attorneys

         Hayes H. Gable
         Defense Counsel

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RE:   Minesh PRASAD
      Docket Number: 2:03CR00202-04
      RELEASE OF CONFIDENTIAL INFORMATION




ORDER OF THE COURT:

The United States Probation Office has the Court’s approval to disclose the defendant's
presentence report to the United States Department of Homeland Security, Immigration
and Customs Enforcement Agency.


Granted          X                            Denied




Dated: February 5, 2007



                                     GARLAND E. BURRELL, JR.
                                     United States District Judge




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